     Case 1:08-cr-00024-JPJ-PMS   Document 3038      Filed 07/11/13   Page 1 of 4
                                  Pageid#: 18872



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )      Case No. 1:08CR00024-015
                                               )
v.                                             )             OPINION
                                               )
BRYAN KENDALL MORRISON,                        )      By: James P. Jones
                                               )      United States District Judge
                 Defendant.                    )

      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
for United States; Randall C. Eads, Abingdon, Virginia, for Defendant.

       The defendant, Bryan Kendall Morrison, proceeding pro se, filed a letter on

February 28, 2013, requesting resentencing on his drug trafficking offense in light

of United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc). I construed

his letter as a Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255 and directed the United States to respond. In its response, the

United States waives its statute of limitations defense and agrees that Morrison

should be resentenced. I will grant the § 2255 motion accordingly.

       Morrison and 50 others were charged with conspiracy to possess with intent

to distribute and to distribute fifty grams or more of cocaine base and five hundred

grams or more of cocaine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)

(Count One).     The government filed an Information seeking to enhance the
   Case 1:08-cr-00024-JPJ-PMS        Document 3038        Filed 07/11/13    Page 2 of 4
                                     Pageid#: 18873



mandatory minimum sentence Morrison faced from ten years to mandatory life

imprisonment, pursuant to 21 U.S.C. §§ 841(b)(1)(A) and 851, based on four prior

convictions for drug offenses. Morrison pleaded not guilty, was tried before a jury,

and was convicted, with the jury specifically finding that the amount of cocaine

base attributable to him was 50 grams or more and that the amount of cocaine

attributable to him was 500 grams or more.

       In a sentencing memorandum and objections, among other things Morrison

argued that his prior drug convictions did not qualify as felony drug convictions for

enhancement under § 841(b)(1)(A) and asserted that a sentence of 20 years

fulfilled the sentencing objectives of 18 U.S.C. § 3553(a). He did not, however,

deny the existence of the prior controlled substance convictions or contest their

validity. At sentencing in 2009, I found that, based on three of Morrison’s prior

convictions, he was subject to the mandatory minimum term of life imprisonment

under § 841(b)(1)(A), which I imposed.1 On appeal, Morrison challenged the

enhancement, but the United States Court of Appeals for the Fourth Circuit

affirmed the judgment. United States v. Morrison, 364 F. App’x 33 (4th Cir. 2010)

(unpublished).




       1
           The government concedes that the fourth conviction listed on the § 851
Information does not qualify as a prior trafficking conviction under the statute, because it
was not final before the beginning of the federal conspiracy period.
                                            -2-
   Case 1:08-cr-00024-JPJ-PMS     Document 3038      Filed 07/11/13   Page 3 of 4
                                  Pageid#: 18874



      The United States concedes that under the subsequent Simmons decision,

Morrison’s enhanced sentence is invalid. In Simmons, the Fourth Circuit, sitting en

banc, reversed its earlier decision in United States v. Harp, 406 F.3d 242 (4th Cir.

2005), and held that Simmons’ prior convictions were not qualifying felonies for

federal sentence enhancement purposes, because under North Carolina’s structured

sentencing scheme, he had not been subject to a penalty exceeding one year.

Simmons, 649 F.3d at 246-47. State court records submitted by the government in

this case indicate that under North Carolina law, Morrison was subject to a

sentencing range of less than one year as to each of the three controlled substance

convictions on which I based the federal sentence enhancement. Thus, as the

government agrees, these convictions no longer qualify as predicate drug felonies

for enhancement under § 841(b)(1)(A), id. at 246-50, and Morrison’s § 2255

motion presents a cognizable claim for relief under Simmons.

      Notwithstanding Morrison’s arguments to the contrary, the § 2255 motion is

filed out of time under § 2255(f). Morrison did not file his motion within one year

of the date on which his conviction became final, see § 2255(f)(1), and does not

rest his claim on a right recognized and made retroactive by a Supreme Court

decision so as to invoke § 2255(f)(3). The United States, however, expressly and




                                        -3-
   Case 1:08-cr-00024-JPJ-PMS        Document 3038       Filed 07/11/13    Page 4 of 4
                                     Pageid#: 18875



deliberately waives its statute of limitations defense under § 2255(f). 2 The United

States further asserts that, in the interests of justice, Morrison is entitled to be

resentenced in accordance with Simmons.3

      Based upon the government’s waiver of the statute of limitations defense

and its concession regarding the invalidity of Morrison’s sentence, I will grant

Morrison’s § 2255 motion and resentence him without application of a mandatory

life sentence under § 841(b)(1)(A).

       A separate Order will be entered herewith.


                                                  DATED: July 11, 2013

                                                  /s/ James P. Jones
                                                  United States District Judge




      2
          The government’s intentional relinquishment of the statute of limitations
defense constitutes a waiver that the court may not override. Wood v. Milyard, 132 S. Ct.
1826, 1834 (2012).
      3
           A district court in this circuit has held that even with the government’s waiver
of the statute of limitations, Simmons does not apply retroactively to a defendant
sentenced prior to the date of the Simmons decision. Miller v. United States, No.
3:12cv00701-RJC (W.D.N.C. Feb. 15, 2013) (citing United States v. Powell, 691 F.3d
554 (4th Cir. 2012)), appeal argued, No. 13-6254 (4th Cir. June 25, 2013). In Powell,
however, the government had not waived the statute of limitations, and the panel of the
Fourth Circuit was construing § 2255(f)(3), a provision that extends the one-year
limitations period under certain circumstances. 691 F.3d at 557. In the present case, §
2255(f)(3) does not apply, in light of the government’s waiver.
                                            -4-
